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 AO 91 (Rev. 11/11) Criminal Complaint


                                   UNITED STATES DISTRICT COURT
                                                             for the

                                                      District of Colorado

                     United States of America                      )
                                                                   )
                                  v.                               )
                                                                   )         Case No.      20-mj-00114-STV
                       Felix Missael ALVA                          )
                             Defendant(s)                          )


                                             CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief:


  On or about May 30, 2020, in the State and District of Colorado, the defendant Felix Missael ALVA, an alien illegally or
  unlawfully in the United States, did knowingly possess a firearm and ammunition in and affecting interstate commerce;
  in violation of Title 18, United States Code, Section 922(g)(5)(A),




          This criminal complaint is based on these facts:
          See Affidavit attached hereto and herein incorporated by reference.
              Continued on attached sheet.




                                                                                      s/Ryan P. McKone                _
                                                                                        Complainant’s signature

                                                                              Ryan P. McKone, Special Agent, ATF
                                                                                        Printed name and title


Sworn to before me and:          signed in my presence.
                                 submitted, attested to, and acknowledged by reliable electronic means.




        $XJXVW
Date:              _______________________
                                                                                             Judge’s signature

                                                                       Scott T. Varholak
City and state:      Denver, CO                                        United States Magistrate Judge
                                                                                           Printed name and title
